Case 1:03-cv-01156-.]DT-STA Document 30 Filed 06/21/05 Page 1 of 4 Page|D 38

 

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LACRETIA JoHNsoN, sHANNA ioHNsoN, `_ 159/§§ /,
PAMELA JoHNSoN, FisHER sMITH PLAINTIFFS 1 °@'C§i;§.,f aj`>"

VS. NO. 1-03-1156-'1`

UNIVERSI'I`Y OF TENNESSEE FAMILY
PRACTICE CENTER DEFENDANT

AGREED ORDER OF DISMISSAL

The Plaintiffs, Lacretia Johnson, Shanna Johnson, and Pamela Johnson, and Defendant as
indicated by their signatures and the signatures of their respective counsel below, announce to the
Court that the claims of the Plaintiffs Lacretia Johnson, Shanna Johnson, and Parnela Johnson in
this cause have been settled and amicably resolved Therefore the Plaintiffs, Lacretia Johnson,
Shanna Johnson, and Pamela Johnson request that proceedings in the above-referenced matter be
voluntarily dismissed With prejudicel

For good cause shown, IT IS HEREBY ORDERED, ADJUDGED AND I)ECREED
that this case be dismissed as to Plaintiffs, Lacretia Johnson, Shanna Johnson, and Pamela

Johnson claims With prejudice

EN'l`ER]:`D this the 20 day of % , 2005.

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Case 1:03-cv-01156-.]DT-STA Document 30 Filed 06/21/05 Page 2 of 4 Page|D 39

APPROVE-D FOR ENTRY:

 

 

Pamela John

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chael D. Cooke
Attorney for Plaintiffs

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Nalicy»M§addox (TN Ba‘r #019631) D re

Attorney Defendant

Case 1:03-cv-01156-.]DT-STA Document 30 Filed 06/21/05 Page 3 of 4 Page|D 40

CERTIFICATE OF SERVICE
l hereby certify that copies of the foregoing were mailed to Plaintiffs’ Counsel, l\/lichael
D. Cooke, Esq., P. O. Box 625, luka, l\/IS 38852, and to Plaintiff, Fisher Smith, 137 McAbee

Street, Beach Bluff, Tennessee 38313, postage prepaid

This the day of , 2005.

 

NANCY M. MADDOX

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:03-CV-01156 Was distributed by faX, mail, or direct printing on
June 21, 2005 to the parties listed.

 

 

Michael D. Cooke

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Nancy M. Maddox

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66 North Pauline Street

Ste. 428

l\/lemphis7 TN 38163

Honorable J ames Todd
US DISTRICT COURT

